Case 22-00238-ELG Doc 119-1 Filed 10/16/24 Entered 10/16/24 10:43:05                     Desc
           Notice of Opportunity to Object and of Hearing Page 1 of 2



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THE BELMONT FIRM
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Counsel for Muse Threads, Inc.

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA


 In re:                                                   Case No.: 22-238-ELG

    MUSE THREADS, Inc.,                                              Chapter 11
                                                                    (Subchapter V)
          Debtor.


                    NOTICE OF MOTION TO APPROVE COMPROMISE

          NOTICE IS HEREBY GIVEN that Muse Threads, Inc. (“Muse Threads”) has filed a

motion to compromise claims against 8fig, Inc. and Alien Finance LLC. The proposed compromise

provides for Muse Threads to be paid the sum of $50,000.00, for claims to be released, and for

pending adversary litigation to be dismissed upon the making of the subject payment. The

proposed compromise is set forth in the correlative motion; the terms highlighted herein are not

exhaustive in nature but represent a good faith summary of the most significant aspects of the

proposed compromise.

          NOTICE OF DEADLINE TO OBJECT. If you do not want the Court to grant the

Application or if you would like the Court to consider your views, then WITHIN TWENTY-ONE

(21) DAYS AFTER THE DATE OF MAILING OF THIS NOTICE, you must file and serve a

written objection to the motion. The objection must be filed with the Clerk of the Bankruptcy

Court, U.S. Courthouse, 333 Constitution Ave., N.W., Washington, D.C. 20001 and served (by



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Case 22-00238-ELG Doc 119-1 Filed 10/16/24 Entered 10/16/24 10:43:05                          Desc
           Notice of Opportunity to Object and of Hearing Page 2 of 2



delivery or mailing a copy) upon the undersigned. The objection must contain a complete

specification of the factual and legal grounds upon which it is based. You may append affidavits

and documents in support of your objection.

       NOTICE OF HEARING. A hearing on the motion has been scheduled before the

Honorable Elizabeth L. Gunn, United States Bankruptcy Judge, for November 13, 2024 at 10:00

AM. The hearing will be held in a hybrid format, in Courtroom 1 at the foregoing address and via

Zoom video conferencing. For meeting code, contact Courtroom Deputy Aimee Mathewes at

Aimee_Mathewes@dcb.uscourts.gov.


                                              Respectfully submitted,

Dated: October 16, 2024               By:     /s/ Maurice B. VerStandig
                                              Maurice B. VerStandig, Esq.
                                              Bar No. MD18071
                                              The VerStandig Law Firm, LLC
                                              9812 Falls Road, #114-160
                                              Potomac, Maryland 20854
                                              Phone: (301) 444-4600
                                              mac@mbvesq.com

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of October, 2024, a copy of the foregoing was

served electronically upon filing via the ECF system, with copies being sent to all parties receiving

electronic notice herein including, inter alia, counsel for the United States Trustee. Additionally,

a copy of this notice (but not of the accompanying application) is being sent, via First Class Mail,

postage prepaid, of even date herewith, to all parties on the attached mailing matrix.

                                              /s/ Maurice B. VerStandig
                                              Maurice B. VerStandig




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